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                          IN THE UNITED STATED BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    TRUE VALUE COMPANY, L.L.C., et al.,1                       Case No. 24-12337 (KBO)

                                        Debtors.               (Jointly Administered)

                                                               Ref. No. 1023


                  NOTICE OF WITHDRAWAL OF OBJECTION TO DEBTORS’
                SEVENTH OMNIBUS OBJECTION TO CLAIMS (SUBSTANTIVE)

             PLEASE TAKE NOTICE that Suburban Propane (“SP”) hereby withdraws its Objection

to the Debtors’ Seventh Omnibus Objection to Claims (Substantive) [Doc. No. 1023] filed on

March 24, 2025.



    Dated: May 22, 2025                                        ARCHER & GREINER, P.C.
           Wilmington, Delaware
                                                                /s/ Natasha M. Songonuga,
                                                               Natasha M. Songonuga, Esq. (Bar No. 5391)
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                                                               Counsel for Suburban Propane




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    The Debtors in these chapter 11 cases, along with the last four digits of their respective tax identification numbers,
    are as follows: True Value Company, L.L.C. (9896); TV Holdco II, L.L.C. (2272); TV TSLC, L.L.C. (7025); TV
    GPMC, L.L.C. (8136); True Value Retail, L.L.C. (7946); TrueValue.com Company, L.L.C. (6386); True Value
    Virginia, L.L.C. (9197); and Distributors Hardware, L.L.C. (8106). The address of the Debtors' corporate
    headquarters is 8600 W. Bryn Mawr Ave. Chicago, IL 60631.
